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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

IN RE: ABBOTT LABORATORIES, et al., )
PRETERM INFANT NUTRITION PRODUCTS )                     MDL No. 3026
LIABILITY LITIGATION                )
                                    )                   Master Docket No. 22 C 71
This Document Relates to:           )
ALL ACTIONS                         )                   Judge Rebecca R. Pallmeyer
                                    )

                                            ORDER

       The parties have negotiated a protocol for producing documents and electronically stored

information but disagree with respect to a single provision, Section B(1)(h), which deals with

production of Paper Documents. Defendants contend that Plaintiffs are asking that the producing

party log non-responsive documents; the court does not read Plaintiffs’ proposal as imposing such

a requirement. The court agrees with Defendants, however, that Plaintiffs have not established

the need for a producing party to “provide a general description of the categories of documents

within [each] container [that are] withheld from production.”    Instead, in the court’s view, a

description of the type of container in which documents are found (for example, binder vs.

envelope) should be sufficient to put the discovering party on notice that the container also

contains documents that should, in fairness, be produced.


       The court therefore directs that Paragraph B(1)(h) read as follows:
       If, in the ordinary course of business, responsive documents are maintained in a
       file, folder, envelope, binder, notebook or similar container used to store
       documents, all contents therein shall be reviewed for production and privilege. The
       producing party shall describe in a general way the nature of the container in which
       the discoverable and responsive documents were found and state whether that
       container also contains non-responsive documents. Non-responsive documents
       need not be logged, scanned, or otherwise identified. Should the discovering party
       seek additional information concerning the nature of non-responsive documents,
       the court will, absent agreement of the parties, consider a request for such
       information, on a showing that circumstances of storage support a good faith basis
       for that request.
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       The parties are invited to include such language in their otherwise-agreed protocol

and submit it for the court’s entry.



                                            ENTER:




Date: October 12, 2022                      _______________________________
                                            REBECCA R. PALLMEYER
                                            United States District Judge
